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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ELIAS VAZQUEZ.,                                CV 22-3056 PA (Ex)
12                 Plaintiff,                       JUDGMENT
13          v.
14   AMAZON.COM SERVICES, LLC;
     AMAZON.COM, INC.; GARREN
15   FITNESS, LLC,
16                 Defendants.
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20          Pursuant to the Court’s May 25, 2022 Minute Order dismissing this action for lack of
21   subject matter jurisdiction, failure to prosecute, and failure to comply with the Court’s order,
22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
23   dismissed without prejudice.
24
25   DATED: May 25, 2022                                _________________________________
                                                                   Percy Anderson
26                                                        UNITED STATES DISTRICT JUDGE
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